     Case 1:14-cr-00196-TWT-LTW Document 669 Filed 09/07/18 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                               CRIMINAL FILE NO.
         v.                                    1:14-CR-196-9-TWT
 ALEJANDRO CARMONA,
   Defendant.


                                       ORDER

      This is a criminal action.        It is before the Court on the Report and

Recommendation [Doc. 665] of the Magistrate Judge recommending denying the

Defendant’s Motion to Vacate Sentence [Doc. 646]. As set forth in the thorough and

well-reasoned Report and Recommendation, the Defendant has not shown that defense

counsel rendered ineffective assistance of counsel regarding the Government’s

deliberate ignorance theory. Furthermore, the evidence of the Defendant’s guilt based

upon actual knowledge of the drugs transported in the buses was overwhelming.

Therefore, there was no prejudice from the alleged ineffective assistance of counsel.

The Court approves and adopts the Report and Recommendation as the judgment of

the Court. The Defendant’s Motion to Vacate Sentence [Doc. 646] is DENIED. No

certificate of appealability will be issued.
       Case 1:14-cr-00196-TWT-LTW Document 669 Filed 09/07/18 Page 2 of 2




         SO ORDERED, this 6 day of September, 2018.



                                     /s/Thomas W. Thrash
                                     THOMAS W. THRASH, JR.
                                     United States District Judge




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